      Case 1:20-cv-03010-APM          Document 1261   Filed 05/08/25   Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,      Case No. 1:20-cv-03010-APM

 v.                                              HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,      Case No. 1:20-cv-03715-APM

 v.                                              HON. AMIT P. MEHTA

Google LLC,

                                Defendant.



           DEFENDANT GOOGLE LLC’S SUBMISSION REGARDING
        PROPOSED REBUTTAL WITNESS PROFESSOR KINSHUK JERATH
      Case 1:20-cv-03010-APM           Document 1261         Filed 05/08/25      Page 2 of 4




       Pursuant to the Court’s request, Google submits this brief in support of Google’s position

that Plaintiffs should not be permitted to call expert Professor Kinshuk Jerath as a rebuttal

witness to address Plaintiffs’ Proposed Final Judgment Section VIII.A-D (the “ads transparency

remedies”). As Plaintiffs acknowledged in Court today, they served no opening round expert

report in support of their proposed ads transparency remedies and called no expert to support

them during their case-in-chief. But Plaintiffs were well aware that Google intended to call Dr.

Mark Israel to testify that those proposed remedies are unnecessary and would be harmful.

Rather than call Professor Jerath to opine on the ads transparency remedies in their case-in-chief,

Plaintiffs made a calculated decision to rely solely on the testimony of a fact witness, Paul Vallez

of Skai. Now having rested their case, Plaintiffs seek to call Professor Jerath as an improper

rebuttal witness, presumably to describe the transparency remedies in more detail and to attempt

to explain why they seek to regulate ads reporting and products nowhere discussed in the

Opinion, such as “Ads Data Hub” and “Google Ads Data Manager.” If Professor Jerath was only

going to address what the Court said in its Opinion, his testimony would be unnecessary. But the

ads transparency remedies go far beyond allegations or findings from the liability phase, and

given that Professor Jerath would be called to testify in support of Plaintiffs’ own proposed

remedies, there was no excuse for failing to call him during Plaintiffs’ case-in-chief. Google

would be prejudiced because its expert, Dr. Israel, will not have the opportunity to respond to

testimony that should have occurred first.

       Plaintiffs’ case-in-chief was their opportunity to submit expert testimony in support of

their proposed remedies. Where, as here, Plaintiffs know that an issue relevant to their case will

be contested, Plaintiff must present their evidence on the issue during their case-in-chief. Braun

v. Lorillard Inc., 84 F.3d 230, 237 (7th Cir. 1996) (“The plaintiff who knows that the defendant



                                                 1
      Case 1:20-cv-03010-APM            Document 1261         Filed 05/08/25       Page 3 of 4




means to contest an issue that is germane to the prima facie case…must put in his evidence on

the issue as part of his case in chief.”). If Plaintiffs do not offer such evidence, and seek to do so

on rebuttal, they in effect reverse the order of proof. Id. (“Otherwise the plaintiff could reverse

the order of proof, in effect requiring the defendants to put in their evidence before the plaintiff

put in his.”); see Bonser v. Waste Connections of Colorado, Inc., 2020 WL 1986477, at *5-6 (D.

Colo. Apr. 27, 2020) (“Even if a report superficially rebuts the opinion of another expert, true

rebuttal experts cannot introduce evidence that should have been part of a plaintiff's original

case-in-chief.”).

       Plaintiffs are attempting to reverse the order of proof by calling Professor Jerath to

support their own proposed remedies in rebuttal. Denial of a rebuttal expert is warranted given

their failure to call Professor Jerath during their case-in-chief despite knowing that Google

intended to call Dr. Israel to address these proposed remedies. Faigin v. Kelly, 184 F.3d 67, 85

(1st Cir. 1999) (“When a party knows that a contested matter is in the case, yet fails to address it

in a timely fashion, he scarcely can be heard to complain that the trial court refused to give him a

second nibble at the cherry.”). The grounds for denial of a rebuttal are particularly strong

because Plaintiffs were on notice of Google’s intended arguments and nothing new or

unanticipated surfaced during Google’s case. Id. at 86 (“This principle has particular bite where,

as here, nothing new or unanticipated surfaced during the defense case that even arguably

changed the topography of the battlefield.”). Plaintiffs knew Dr. Israel’s opinions before trial

began because Google served Dr. Israel’s expert report on March 14 and Dr. Israel was deposed

on April 8. Plaintiffs nevertheless opted against calling Professor Jerath in their case-in-chief,

and that should be the end of the matter. See People v. Kinder Morgan Energy Partners, L.P.,

159 F. Supp. 3d 1182, 1192 (S.D. Cal. 2016) (“A party with the burden of proof on an issue



                                                   2
      Case 1:20-cv-03010-APM           Document 1261         Filed 05/08/25      Page 4 of 4




‘should not be allowed to secretly prepare an army of ‘rebuttal’ experts.”). The ads transparency

remedies plainly extend beyond the Court’s findings, and Plaintiffs should have called Professor

Jerath to offer any testimony in support of these remedies before Plaintiffs rested their case.

Dated: May 8, 2025                              Respectfully submitted,

                                                WILLIAMS & CONNOLLY LLP

                                                By: /s/ John E. Schmidtlein
                                                John E. Schmidtlein (D.C. Bar No. 441261)
                                                Benjamin M. Greenblum (D.C. Bar No. 979786)
                                                Colette T. Connor (D.C. Bar No. 991533)
                                                680 Maine Avenue, SW
                                                Washington, DC 20024
                                                Tel: 202-434-5000
                                                jschmidtlein@wc.com
                                                bgreenblum@wc.com
                                                cconnor@wc.com

                                                WILSON SONSINI GOODRICH & ROSATI P.C.
                                                Michael Sommer (admitted pro hac vice)
                                                Franklin M. Rubinstein (D.C. Bar No. 476674)
                                                1700 K Street, NW
                                                Washington, DC 20006
                                                Tel: 202-973-8800
                                                msommer@wsgr.com
                                                frubinstein@wsgr.com

                                                ROPES & GRAY LLP
                                                Mark S. Popofsky (D.C. Bar No. 454213)
                                                2099 Pennsylvania Avenue, NW
                                                Washington, DC 20006
                                                Tel: 202-508-4624
                                                Mark.Popofsky@ropesgray.com

                                                Matthew McGinnis (admitted pro hac vice)
                                                Prudential Tower
                                                800 Boylston Street
                                                Boston, MA 02199
                                                Tel: 617-951-7703
                                                Matthew.McGinnis@ropesgray.com

                                                Counsel for Defendant Google LLC

                                                 3
